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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

REPUBLIC MAXIMAL LLC, et
al.,

Plaintiffs,

v C.A. No. 22-cv-10429-MLW

ROMULUS CAPITAL PARTNERS II,

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LLC, et al., )
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)

Defendants.
MEMORANDUM AND ORDER
WOLF, D.J. June 25, 2024
I. INTRODUCTION

This is a civil securities fraud case brought by plaintiffs
Republic Maximal LLC ("Republic"), Republic Master Fund, LP
("Republic Master Fund"), EquipmentShare Growth One, LP,
EquipmentShare Growth Two, LP, EquipmentShare Growth Three, LP,
‘EquipmentShare Romulus Close Two, LP, EquipmentShare Secondary
One, LP, EquipmentShare Secondary Two, LP, EquipmentShare
Secondary Three, LP, EquipmentShare Secondary 2020, LP,
EquipmentShare Secondary II, LP, EquipmentShare Secondary III, LP,
EquipmentShare Qualified 2020, LP, EquipmentShare Qualified 2020
II, LP, EquipmentShare Qualified 2020 III, LP, and EquipmentShare

Qualified 2020 IV, LP, (collectively, with Republic and Republic
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Master Fund, "Plaintiffs") against defendants Romulus Capital
Partners II, LLC, Neil Chheda (collectively, the "Romulus
Defendants"), Athena 2, Inc., SNC 1 LLC, and Apollol Inc.
(collectively, the "Transferors").

Among other things, Plaintiffs have alleged that the Romulus
Defendants violated Section 10(b) of the Securities and Exchange
Act of 1934 (the "Exchange Act"), codified at 15 U.S.C. §78)(b),
and SEC Rule 10b-5, codified at 17 C.F.R. §240.10b-5, by
fraudulently misrepresenting that the Transferors were original
investors in Romulus EquipmentShare Growth LP (the "Series A Fund")
(the "Section 10(b) claim"). The Romulus Defendants filed a motion
to dismiss Plaintiffs' federal and state law claims against them,
which the court allowed in part and denied in part.

In moving to dismiss Plaintiffs' Section 10(b) claim, the
Romulus Defendants argued that contractual non-reliance clauses
barred Plaintiffs, as a matter of law, from plausibly alleging
reliance on the Romulus Defendants' alleged extracontractual
misrepresentations. The court held that this argument was

foreclosed by Rogen v. Tlikon Corporation, 361 F.2d 260 (lst Cir.

1966), where the First Circuit held that under Section 29(a) of
the Exchange Act, codified at 15 U.S.C. §78cc(a), a Section 10 (b)
defendant cannot invoke a non-reliance clause to establish a
plaintiff's non-reliance as a matter of law. Asa result, the court

held that Plaintiffs had plausibly alleged reliance and denied the

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Romulus Defendants! motion to dismiss Plaintiffs’ Section 10(b)
claim.

The Romulus Defendants now ask the court to certify its
decision denying their request to dismiss Plaintiffs' Section
10(b) claim to permit them to seek an interlocutory appeal pursuant
to 28 U.S.C. §1292(b) (the "Motion for Interlocutory Appeal"; Dkt.
No. 69). Plaintiffs oppose this motion (the "Opposition"; Dkt. No.
72). Plaintiffs have also filed an unopposed motion to amend the
Complaint (Dkt. No. 81) to add, among other things, allegations
that Plaintiffs contend are relevant to their Section 10(b) claim
and the Romulus Defendants' Motion for Interlocutory Appeal.

For the reasons explained below, the court is allowing both
motions. The court is allowing Plaintiffs' unopposed motion to
amend because it was timely filed, plaintiffs have identified valid
reasons to amend, and because Federal Rule of Civil Procedure
15(a) (2) provides that courts should "freely give leave" to amend
"when justice so requires." The motion to amend does not affect
the merits of the Romulus Defendants' Motion for Interlocutory
Appeal, which is also being allowed because, among other things,
the First Circuit has not yet clearly or consistently explained
the extent to which Section 29(a) limits the effect of non-reliance
clauses asserted by defendants seeking to dismiss Section 10(b)

suits.
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II. BACKGROUND

Plaintiffs filed the Complaint on March 22, 2022, alleging
two federal claims brought under the Exchange Act and eleven state
law claims. See Complaint (Dkt. No. 1). Most of Plaintiffs':- claims
relate to their decision to purchase limited partnership interests
("LP Interests") in the Series A Fund from the Transferors. See
id. 497199-289. Romulus is the general manager of the Series A Fund.
See Complaint 710; Romulus Answer (10 (Dkt. No. 71). The Romulus
Defendants brokered Plaintiffs' acquisition of the Transferors' LP
Interests. See, e.g., Complaint 9127; Romulus Answer {27.

Plaintiffs allege that in the conversations and emails
preceding each LP Interest transaction, the Romulus Defendants
misrepresented that the Transferors were original investors in the
Series A Fund. See Complaint 9192, 241-258. Plaintiffs contend that
the Transferors were not original investors, but instead acquired
their LP Interests in the Series A Fund through intervening
transactions. See id. 135-156. Plaintiffs allege that by
misrepresenting that the Transferors were original investors, the
Romulus Defendants misled Plaintiffs into believing that they were
purchasing a vastly larger percentage of the Series A Fund's
partnership interests (93.59%) than they actually acquired
(12.00%). See id. 492, 147. As a result, Plaintiffs allege that

their LP Interests in the Series A Fund are worth at least $60
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million less than the Romulus Defendants led them to believe. See
id. 72.

Plaintiffs, the Transferors, and the Romulus Defendants
executed Transfer Agreements in connection with each LP Interest
transaction. See Dalsen Declaration, Exs. 1-14 (Dkt. No. 23)
(providing Transfer Agreements for each LP Interest transaction).
The Transfer Agreements state the price that the Transferors paid
for their LP Interests, but not the size of each LP Interest
relative to the Series A Fund's total LP Interests. See Ex. 1,
Dalsen Decl. (hereinafter, the "Transfer Agreement").1! Each
Transfer Agreement also contains an integration clause, see
Transfer Agreement §8.2, and several non-reliance clauses,
pursuant to which the parties disclaimed reliance on
extracontractual statements regarding the value of the LP
Interests at issue, see id. §§5, 6 (the integration clause and
non-reliance clauses are jointly referred to as the "non-reliance
clauses").

On May 24, 2022, the Romulus Defendants and the Transferors

filed motions to dismiss. See Romulus MTD (Dkt. No. 26); Transferor

1 The parties agree that the terms of each Transfer Agreement are
materially identical, with only the parties, sale price, and LP
Interest at issue varying between agreements. See Transferor MTD
Mem. at 9 (Dkt. No. 22); Romulus MTD Mem. at 9 (Dkt. No. 27);
Complaint 99130-134; see also Plaintiff Opp. to Transferor MTD at
7-8. Therefore, Exhibit 1 of the Dalsen Declaration is used as a
representative sample that is referenced in this Memorandum and
Order as the "Transfer Agreement."

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MTD (Dkt. No. 21). There is not diversity of citizenship among the
parties. See Complaint 9495-17. Therefore, Plaintiffs relied solely
on 28 U.S.C. §1331 federal question jurisdiction in bringing their
claims in this court. See id. 418; see also Jan. 18, 2024 Order
(Dkt. No. 41). The court may only exercise supplemental
jurisdiction over Plaintiffs' state law claims if they "form part
of the same case or controversy" as their federal claims. See 28
U.S.C. §1367. The court consequently determined that if it were to
dismiss Plaintiffs' federal claims, it would be required to dismiss
Plaintiffs' state law claims for lack of supplemental
jurisdiction. See Jan. 18, 2024 Order at 2-3 (citing Wilber v.
Curtis, 872 F.3d 15, 23 (lst Cir. 2017)). As a result, the court
bifurcated the hearing on defendants' motions to dismiss. See id.
at 3-4.

The court held a hearing on the Romulus Defendants' motion to
dismiss the federal claims on February 1, 2024. Clerk's Note (Dkt.
No. 47). The Romulus Defendants argued that the non-reliance
clauses barred Plaintiffs, as a matter of law, from plausibly
alleging that they relied on the Romulus Defendants' alleged
mMisrepresentations, as required to state a Section 10(b) claim.
See Romulus MTD Mem. at 15-18 (Dkt. No. 27); Feb. 1, 2024 Hr'g Tr.

46-62 (Dkt. No. 52); Constr. Indus. & Laborers Joint Pension Tr.

v. Carbonite, Inc., 22 F.4th 1, 7 (lst Cir. 2021) (stating elements

of Section 10(b) claim). This argument is consistent with the law
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of the Second Circuit. See ATSI Communications, Inc. v. The Shaar

Fund, Ltd., 493 F.3d 87, 105 (2d Cir. 2007) (holding that "[w]here
the plaintiff is a sophisticated investor and an integrated
agreement between the parties does not include the
misrepresentation at issue, the plaintiff cannot establish

reasonable reliance on that misrepresentation"); see also Emergent

Cap. Inv. Mgmt. v. Stonepath Group, Inc., 343 F.3d 189, 196 (2d

Cir. 2003) (same).

The Romulus Defendants cited two First Circuit cases that,
they argued, demonstrated that the First Circuit follows the Second
Circuit's approach to enforcing non-reliance clauses in Section

10(b) cases. In Kennedy v. Josephthal & Co, Inc., the First Circuit

affirmed a grant of summary judgment for defendants after finding
that plaintiffs had failed to demonstrate justifiable reliance on
extracontractual statements that were directly contradicted by the
terms of the contract at issue. 814 F.2d 798, 801, 804-05 (1st

Cir. 1987). Two years later, in Jackvony v. RIHT Financial

Corporation, the First Circuit affirmed a directed verdict for

defendants and held that an integrated contract's non-reliance
clause barred the plaintiff from establishing reliance on alleged
extracontractual promises. 873 F.2d 411, 416 (1st Cir. 1989).
Plaintiffs argued that Kennedy and Jackvony were inapposite
in view of an earlier First Circuit decision analyzing non-reliance

clauses in a Section 10(b) suit, Rogen v. Ilikon Corporation, 361

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F.2d 260 (list Cir. 1966). Rogen was brought by the co-founder of
a corporation who alleged that corporate officers' non-disclosure
of material facts induced him to sell his shares in the corporation
at an unfavorable rate. See id. at 261-62. In support of a motion
for summary judgment, the defendants argued that the plaintiff
could not establish reliance on their alleged misrepresentations,
in part because the parties had entered into a contract containing
a non-reliance clause. See id. at 265-66, 268. The First Circuit
rejected this argument and held that the defendants could not
invoke the non-reliance clause to establish the plaintiff's non-
reliance as a matter of law. See id. at 268. This holding was
premised on the First Circuit's interpretation of Section 29(a) of
the Exchange Act, codified at 15 U.S.C. §78cc(a). See id. at 268.
Despite their similarities with Rogen, the First Circuit did not
address the implications of Section 29(a) in its subsequent Kennedy
and Jackvony decisions.

Section 29(a) states that "[a]ny condition, stipulation, or
provision binding any person to waive compliance with any provision
of [the Exchange Act] or of any rule or regulation thereunder .
shall be void." 15 U.S.C. §78cc(a). In Rogen, the First Circuit
held that Section 29(a) constrains the legal effect of non-reliance
clauses in Section 10(b) cases, reasoning:

[O]n analysis, we see no fundamental difference between

saying, for example, "I waive any rights I might have because
of your representations or obligations to make full
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disclosure" and "I am not relying on your representations or
obligations to make full disclosure." Were we to hold that
the existence of this provision constituted the basis (or a
substantial part of the basis) for finding non-reliance as a
matter of law, we would have gone far toward eviscerating
Section 29(a).

Rogen, 361 F.2d at 268 (emphasis added) (footnote omitted).
Therefore, in Rogen, the First Circuit held that defendants could
not invoke the contractual non-reliance clause to establish the

plaintiff's non-reliance as a matter of law. See id. at 269.

More than thirty years later, the Third Circuit reached a

similar conclusion in AES Corporation v. Dow Chemical Company, 325

F.3d 174 (3rd Cir. 2003). In AES Corporation, The Third Circuit

held that contractual non-reliance clauses may be considered as
evidence of whether a plaintiff relied on a defendants' alleged
extracontractual misrepresentations. See id. at 180. However, the
court agreed with the First Circuit's reasoning in Rogen and held
that Section 29(a) prevents a defendant from invoking a non-

reliance clause to establish a plaintiff's non-reliance as a matter

of law. See id. at 180-81.

After oral argument on this issue at the February 1, 2024
hearing, the court took the Romulus Defendants’ motion to dismiss
Plaintiffs' federal claims under advisement. See Clerk's Note
(Dkt. No. 47). The court scheduled an additional hearing on the
motions to dismiss Plaintiffs' state law claims for February 28,

2024. See Feb. 12, 2024 Order (Dkt. No. 54).
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At the February 28, 2024 hearing, the court orally decided
the motion to dismiss Plaintiffs' Section 10(b) claim. See Feb.
28, 2024 Hr'g Tr. at 5-23 (Dkt. No. 67). The transcript of this
decision has been converted to a Memorandum and Order, which is
attached hereto as Exhibit l.

Citing Rogen and Section 29(a), the court held that the
Romulus Defendants could not invoke the Transfer Agreements' non-
reliance clauses to establish Plaintiffs' non-reliance as a matter
of law on a motion to dismiss. See id. at 12-14. However, the court
stated that the Romulus Defendants might be able to offer the non-
reliance clauses as evidence of whether Plaintiffs in fact relied
on the Romulus Defendants' alleged extracontractual

misrepresentations. See id. at 13 (citing AES Corporation, 325

F.3d at 180). The court stated that Kennedy and Jackvony did not
alter its reasoning, largely because the First Circuit did not
address the applicability of Section 29(a) in either case, and
because both cases were decided in different postures—Kennedy on
a motion for summary judgment and Jackvony on a motion for a
directed verdict. See id. at 14. Having resolved the reliance
issue, the court held that Plaintiffs had plausibly alleged facts
that, if true, would prove each element of their Section 10(b)
claim and denied the Romulus Defendants' motion to dismiss

Plaintiffs' federal claims. See id. at 23.

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At the conclusion of the February 28, 2024 hearing, the court
allowed in part and denied in part the Romulus Defendants' and
Transferors' motions to dismiss Plaintiffs' state law claims. See
id. at 107-117. On February 29, 2024, the court issued an Order
memorializing its oral rulings, see Order (Dkt. No. 61), and a
Scheduling Order establishing various pretrial deadlines, see
Scheduling Order (Dkt. No. 62).

On March 22, 2024, the Romulus Defendants filed the Motion
for Interlocutory Appeal (Dkt. No. 69). The Romulus Defendants
request leave to appeal the court's decision that, under Rogen and
Section 29(a), the Transfer Agreements' non-reliance clauses do
not bar Plaintiffs from plausibly pleading, in the context of a
motion to dismiss, reliance on the Romulus Defendants' alleged
extracontractual misrepresentations as a matter of law. See id. at
2. Plaintiffs opposed the motion on March 29, 2024. See Opposition
(Dkt. No. 72). The Romulus Defendants filed a reply on April 17,
2024. See Reply (Dkt. No. 80).

Pursuant to the February 29, 2024 Scheduling Order, Republic
moved to amend the Complaint on April 29, 2024, pursuant to Federal
Rule of Civil Procedure 15 ("Rule 15"). See Mot. to Amend (Dkt.
No. 81); Mot. to Amend Mem. (Dkt. No. 82). Republic's counsel,
Daniel C. Mazanec, reported that he had conferred with defendants'
counsel, who were "evaluating the proposed amendment but [had] not

yet determined whether they [would] oppose it." Mot. to Amend at

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2. Under Rule 15{a)(3), any opposition to the motion to amend was
due by May 13, 2024. See Fed. R. Civ. P. 15(a) (3); see also Local
Rule 7.1(b) (2) (same). Neither the Romulus Defendants nor the
Transferors have filed an opposition.

III. DISCUSSION

A. Republic's Motion to Amend

Republic has moved to amend its Complaint "for three discrete
reasons." Mot. to Amend at 1. First, Republic proposes to eliminate
dismissed parties and claims, as well as related allegations. See
id. Second, Republic proposes to add allegations that the Romulus
Defendants and Transferors represented, within the four corners of
the Transfer Agreements, that the Transferors has "subscriptions"
to the Series A Fund. See id. Finally, Republic proposes to add a
state law consumer protection claim. See id. Defendants have not
opposed this motion and the time for doing so has passed. See Fed.
R. Civ. P. 15({a) (3); Local Rule 7.1(b) (2).

Rule 15(a)(2) provides that a district court "should freely
give leave" for a plaintiff to amend their complaint "when justice
so requires." Fed. R. Civ. P. 15(a) (2). A court should only deny
a motion to amend when it is "characterized by ‘undue delay, bad

faith, futility, [or] the absence of due diligence on the movant's

part.'’" Calderon-Serra v. Wilmington Trust _Co., 715 F.3d 14, 19

(lst Cir. 2013) (quoting Palmer v. Champion Mortg., 465 F.3d 24,

30 (lst Cir. 2006)); see also Foman v. Davis, 83 S.Ct. 227, 230

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(1962). While this standard weighs in favor of allowing motions to
amend, a plaintiff must nevertheless present a "valid" reason to

amend the complaint. Amyndas Pharms., S.A. v. Zealand Pharma A/S,

48 F.4th 18, 37 (lst Cir. 2022). "Generally, valid reasons include
a motion to dismiss or a ruling from the court pointing out flaws
in the original pleading or the discovery of new information. This
is not a high hurdle, and the dispositive datum often will be the
reasonableness of the pleader's actions." Id.

Republic has timely moved to amend the Complaint. See
Scheduling Order (2. It has also identified valid reasons for doing

so. See Amyndas Pharms., 48 F.4th at 37. The proposed amendment

will streamline the Complaint by removing dismissed parties,
claims, and related allegations. See Mot. to Amend at 1; Mot. to
Amend, Ex. A (red-lined copy of proposed amended complaint); cf.

Amyndas Pharms., 48 F.4th at 37. In addition, the new allegations

and the state law claim do not widen the scope of litigation or
discovery and are substantially related to the allegations and
claims in the original Complaint. See Mot. to Amend Mem. at 3-4;
cf. Amyndas Pharms., 48 F.4th at 37. As defendants have not opposed

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the motion to amend and Plaintiffs have identified valid reasons

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for amending, the motion to amend is being allowed. See Fed. R.
Civ. P. 15(a) (3); Local Rule 7.1(b) (2) .2

B. The Romulus Defendants’ Motion for Interlocutory Appeal

As explained earlier, the Romulus Defendants have moved,
pursuant to 28 U.S.C. §1292(b), for an interlocutory appeal of the
court's order denying their motion to dismiss Plaintiffs’ Section
.10(b) claim. See Motion for Interlocutory Appeal at 2. They seek
to appeal a single legal question:

Whether, in an action for securities fraud under Section 10(b)
of the Securities Exchange Act of 1934, sophisticated
plaintiffs who signed integrated agreements containing
certain specific representations among the parties and
expressly disclaiming reliance on extracontractual
representations cannot, as a matter of law, establish
reasonable reliance on alleged misrepresentations not
contained in the agreements.

Pursuant to 28 U.S.C. §1292(b), a district court:

may certify an otherwise non-appealable order for
interlocutory review by the Court of Appeals if the order (1)
involves a controlling question of law (2) as to which there
are grounds for a substantial difference of opinion and (3)
‘an immediate appeal would materially advance the ultimate
termination of the litigation.

Waters v. Day & Zimmermann NPS, Inc., No. CV 19-11585-NMG, 2020 WL

4754984, at *1 (D. Mass. Aug. 14, 2020) (citing 28 U.S.C.

2 As explained in section III.B., the court's decision to allow
Plaintiffs' motion to amend does not affect the merits of the
Motion for Interlocutory Appeal.

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§1292(b)}. "As a general rule," the First Circuit "do[es] not grant
interlocutory appeals from a denial of a motion to dismiss."

Caraballo-Seda v. Municipality of Hormigueros, 395 F.3d 7, 9 (lst

Cir. 2005); see also McGillicuddy v. Clements, 746 F.2d 76, 76 n.1

(ist Cir. 1984) (same). Therefore, courts should only certify an
issue for interlocutory appeal in "exceptional circumstances"
where "the proposed intermediate appeal presents one or more
difficult and pivotal questions of law not settled by controlling

authority." Caraballo-Seda, 395 F.3d at 9.

"A question of law is '‘'controlling' if reversal would
terminate the action." Waters, 2020 WL 4754984, at *2 (citing

Philip Morris Inc. v. Harshbarger, 957 F.Supp. 327, 330 (D. Mass.

1997)). As a result, this requirement is "closely tied" to the
requirement that an immediate appeal must "materially advance the
ultimate termination of the litigation." Id. (citing Philip
Morris, 957 F.Supp. at 330). "{A] controlling question typically
implicates a pure legal principle that can be resolved without
extensive consultation to the record and commonly involves ‘a
question of the meaning of a statutory or constitutional

provision.'" Id. at *2 (quoting S. Orange Chiropractic Ctr., LLC

v. Cayan LLC, No. CV 15-13069-PBS, 2016 WL 3064054, at *2 (D. Mass.

May 31, 2016)).
As explained below, the proposed appeal presents a "difficult

and pivotal question({] of law not settled by controlling

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authority." Caraballo-Seda, 395 F.3d at 9. Moreover, this question

"implicates a pure legal principle that can be resolved without
extensive consultation to the record." Waters, 2020 WL 4754984, at
*2. Therefore, this is one of the "exceptional circumstances" in
which interlocutory certification is warranted under 28 U.S.C.

§1292(b). See Caraballo-Seda, 395 F.3d at 9.

"([TJhere are grounds for a substantial difference of
opinion,” both within the First Circuit and among the Federal
Circuits, regarding the weight that courts should give contractual
non-reliance clauses in Section 10(b) cases. See 28 U.S.C.
§1292(b). The First Circuit has not clearly or consistently
explained the implications of Section 29(a) for non-reliance
clauses in such cases. As discussed earlier, the First Circuit
wrote in Rogen that, if it were to hold that non-reliance clauses
constitute "the basis (or a substantial part of the basis) for
finding non-reliance as a matter of law, [the court] would have
gone far toward eviscerating Section 29(a)." Rogen, 361 F.2d at
268. Yet, in Jackvony, the First Circuit relied on the non-reliance
clause of an integrated contract in affirming a directed verdict
for defendants, holding that no reasonable juror could have found
that the plaintiff relied on the  defendants' alleged

extracontractual statements. See Jackvony, 873 F.2d at 416-17.

Although Jackvony involved a Section 10(b) claim, the First Circuit

did not discuss the applicability of either Rogen or Section 29(a)

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in its decision. Therefore, it remains unclear whether, and to
what extent, the First Circuit implicitly abrogated Rogen when it
decided Jackvony.?

The Federal Circuits are also split on this issue. The Romulus
Defendants have cited cases in which the Second, Seventh, and D.C.
Circuits held, on motions to dismiss, that non-reliance clauses
barred plaintiffs from plausibly alleging the essential reliance

element of a Section 10(b) claim. See ATSI Commc’ns, Inc. v. The

Shaar Fund, Ltd., 493 F.3d 87, 105 (2d Cir. 2007); Cornielsen v.

Infinium Capital Management, LLC, 916 F.3d 589, 597 (7th Cir.

2019); One-O-One Enters., Inc. v. Caruso, 848 F.2d 1283, 1287 (D.C.

Cir. 1988). As discussed earlier, these decisions conflict with
the First Circuit's decision in Rogen and the Third Circuit's

decision in AES Corporation. Indeed, this court noted at the

February 1, 2024 hearing that, if it were in the Second Circuit,
it would likely dismiss Plaintiffs' Section 10(b) claim. See Feb,

1, 2024 Hr'g Tr. 58:20-23.

3 The Romulus Defendants also cited Kennedy in support of their
argument that it is possible, in the First Circuit, to invoke non-
reliance clauses to establish a plaintiff's non-reliance as a
matter of law. See Romulus MTD Mem. at 16 (Dkt. No. 27). However,
the First Circuit did not discuss whether the contract at issue in
Kennedy contained a non-reliance clause. Instead, the court held
that the plaintiffs could not have reasonably relied on alleged
misrepresentations that were specifically contradicted by the
terms of the contract. See Kennedy, 814 F.2d at 804-05.

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The issue that the Romulus Defendants seek to appeal—namely,
whether non-reliance clauses preclude sophisticated plaintiffs
from establishing reliance as a matter of law-is also a
"controlling question of law.” See 28 U.S.C. §1292(b). This issue
"implicates a pure legal principle that can be resolved without
extensive consultation to the record." Waters, 2020 WL 4754984, at
*2, Moreover, the proposed appeal will give the First Circuit the
opportunity to resolve uncertainty concerning the meaning of
Section 29(a). These facts weigh in favor of finding that the
proposed appeal involves a controlling question of law. See id.

Finally, an immediate appeal of this issue "may materially
advance the ultimate termination of the litigation." 28 U.S.C.

§1292(b). The original Complaint only pleads reliance on the

Romulus Defendants' alleged extracontractual misrepresentations—

specifically, representations made during the conversations and
emails preceding each LP Interest, transaction. See Complaint
1241-258, 265. If the First Circuit concludes that the Transfer
Agreements' non-reliance clauses bar Plaintiffs from pleading
reliance on extracontractual statements as a matter of law,
Plaintiffs will have failed to plausibly plead the essential

reliance element of their Section 10(b) claim. See Carbonite, 22

F.4th at 7 (enumerating reliance as one of the six elements of a
Section 10(b) claim). If Plaintiffs cannot plausibly plead

reliance, the court will be required to dismiss their federal

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claims.’ As explained earlier, if the court dismisses Plaintiffs'
federal claims, it will be required to dismiss their remaining
state law claims for lack of supplemental jurisdiction. See 28

U.S.C. §1367; Wilber v. Curtis, 872 F.3d 15, 23 (lst Cir. 2017).

Plaintiffs contend that they can plead the reliance element
of their Section 10(b) claim even if the First Circuit reverses
this court. See Opposition at 9. Unlike the original Complaint,
the First Amended Complaint ("FAC") alleges, for the first time,
that the Romulus Defendants made material misrepresentations
within the four corners of the Transfer Agreements. See FAC 991125-
126 (Dkt. No. 90). Specifically, the FAC alleges that each Transfer
Agreement contained a provision stating that each Transferor was

"a Limited Partner with a Subscription to the [Series A Fund]."

Id. 94125 (emphasis altered); see also Transfer Agreement at 1.
Citing to the Romulus Defendants’ counterclaims against

Plaintiffs, Plaintiffs contend that "subscribe" is a term of art

in the venture capital industry indicating that an entity is an

original investor in a fund. See Opposition at 9-10 (quoting

4 Plaintiffs' second federal claim is a "control-person" claim
brought against Chheda under Section 20(a) of the Exchange Act.
See Complaint 991270-273. This claim is derivative of Plaintiffs!
Section 10(b) claim. See ACA Fin. Guar. Corp. v. Advest, Inc., 512
F.3d 46, 67 (lst Cir. 2008). Therefore, if the court dismisses
Plaintiffs' Section 10(b) claim, it must also dismiss their Section
20(a) claim.

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Romulus Defendants' Counterclaims {21 (Dkt. No. 71)).5 Plaintiffs
consequently argue that they can plead reliance without relying on
extracontractual statements, because the Romulus Defendants
represented that the Transferors were original investors in the
Series A Fund within the four corners of the Transfer Agreements.
See Opposition at 9-10.

Plaintiffs' contention is not correct because the term
"Subscription," as it is defined in the transfer Agreements,
encompasses both original and subsequent investors in the Series
A Fund. The Transfer Agreements state that "[c]apitalized terms
not otherwise defined herein have the same meaning as in the
Limited Partnership Agreement of the Partnership (the 'Partnership
Agreement')." Transfer Agreement at 1. The Transfer Agreements do
not define the term "Subscription." See Transfer Agreement §1
(defining terms). Therefore, it is necessary to refer to the
Partnership Agreement, which defines "Subscription" as "the total

amount that [a] Partner (and any predecessor in interest of a

Partner that acquired an interest in the Partnership in a Transfer)

has agreed to contribute to the Partnership .. .." Reply, Ex. 1,

at I-5 (Dkt. No. 80-1) (emphasis added).

5 The Romulus Defendants have filed a document titled "Answer,
Affirmative Defenses, Counterclaims, and Third-Party Claims of
Defendants Romulus Capital Partners II, LLC and Neil Chheda" (Dkt.
No. 71). The Counterclaims cited in this Memorandum and Order begin
on page 93 of this document.

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Therefore, the Partnership Agreement explicitly defines
"Subscription" to encompass both original and subsequent
investors. See id. The court must interpret contracts according to
their plain terms and, whenever possible, ensure that each word is

given effect. See DeWolfe v. Hingham Ctr., Ltd., 464 Mass. 795,

803-04 (2013); Osborn ex rel. Osborn v. Kemp, 991 A.2d 1153, 1159

(Del. 2010). Therefore, the court must employ the Partnership
Agreement's definition of "Subscription" when interpreting the
Transfer Agreements. See Transfer Agreement at 1. Whatever meaning
the term "subscription" might carry in the realm of venture
capital, that meaning does not supersede the express definition of
the term adopted by the parties.

Therefore, Plaintiffs' have failed to plausibly allege that
the Romulus Defendants made material misrepresentations within the
four corners of the Transfer Agreements, upon which Plaintiffs
could have reasonably relied. Cf. Opposition at 9-10. If the First
Circuit reverses this court and holds that the Transfer Agreements’
non-reliance clauses bar Plaintiffs from establishing reliance on
extracontractual statements as a matter of law, this court will be
required to dismiss Plaintiffs' federal claims. In addition, if
the court dismisses Plaintiffs' federal claims, it intends to
dismiss Plaintiffs’ state law claims for lack of supplemental

jurisdiction. The court, therefore, finds that an immediate appeal

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is likely to "materially advance the ultimate termination of the
litigation.” See 28 U.S.C. §1292(b).

IV. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Plaintiffs' Motion to Amend the Complaint (Dkt. No. 81) is
ALLOWED.

2. The Romulus Defendants' Motion for Interlocutory Appeal (Dkt.

No. 69) is ALLOWED.

LP. IN,

UNITED STATES DISTRICT JUDGE

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